   Case: 2:22-cr-00049-MHW Doc #: 45 Filed: 05/24/22 Page: 1 of 1 PAGEID #: 152



                       IN rilF. IJNITFI)S TA'I KS DIS TRICT COlIR'l"
                        FOR TIIK SOIITIIKRN DIS I RICT OF OHIO
                                      FASi KRN DIVISION




UNITKD STATICS OF AMICRICA


               Plaintiff,                               Case No:


               V.

                                                        Magistrate Judge ICli/abeth A. Preston
                                                        Deavers


               Defendant.




                            WAIVFR OF DICTRNTION IIFARING


       Dcfcndanl, represented by counsel, waived his/her right to a detention hearing and agreed

to be detained in the custody ofthc United States Marshal pending ilnal resolution of this matter.

       If circumstances should change in the future the defendant may, upon written motion,

request a detention hearing to be held at that time.



                                                       J^fcndant


                                                       Defendant's Counsel
